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From:               Uriel Rivkin <urielrivkin@gmail.com>
Sent:               Friday, October 30, 2020 6:49 AM
To:                 lgage@vectormedia.com
Subject:            Ad for HART
Attachments:        Young Israel Ad - vector v3.pdf


Dear Ms. Gage:

On behalf of Young Israel of Tampa, I would like to submit the attached ad to run in the HART transit system in late
November through December to advertise our annual “Chanukah on Ice” event. With a growing Orthodox community
and the 275LX and 400 bus lines running near the ice‐skating rink, it would be great to promote our Chanukah
celebration via the bus system. The ad is attached. Please let me know what else I can provide and what the next steps
are.


Thank you,


Rabbi Uriel Rivkin
Young Israel of Tampa
813‐832‐3018




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Young Israel of Tampa
 presents 14th Annual




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    skating to Jewish
ice                   mu                      sic around the
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   Thursday, Dec. 17                     mi n              ra h
Eighth Night of Chanukah
    5:45 - 7:45 pm
                                                  g m en o
  Admission of $5.00
  includes skate rental                  r Food Stand
                                       he                  s
                                  Kos




                                             A rts & Cra ft Latkes &
      Florida Hospital                                  a Special Raffle
         Center Ice
   3173 Cypress Ridge Blvd.                    To RSVP please call
        Wesley Chapel                     813-983-9770 or 813-832-3018
           813-803-7372                    www.youngisraeltampa.org
